Case 1:03-cr-00032-IMK Document 466 Filed 08/27/10 Page 1 of 6 PageID #: 1168
Case 1:03-cr-00032-IMK Document 466 Filed 08/27/10 Page 2 of 6 PageID #: 1169
Case 1:03-cr-00032-IMK Document 466 Filed 08/27/10 Page 3 of 6 PageID #: 1170
Case 1:03-cr-00032-IMK Document 466 Filed 08/27/10 Page 4 of 6 PageID #: 1171
Case 1:03-cr-00032-IMK Document 466 Filed 08/27/10 Page 5 of 6 PageID #: 1172
Case 1:03-cr-00032-IMK Document 466 Filed 08/27/10 Page 6 of 6 PageID #: 1173
